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IN THE UNITED STATES DISTRICT COURT

FOR THE

EASTERN DISTRICT OF LOUISIANA

IN RE: — Oil Spill by the Oil Rig )
“Deepwater Horizon” )

In the Gulf of Mexico. )

On April 20, 2010 )

This document relates to: )
No. 12-970, Bon Secour )
Fisheries, Inc., et al v. BP )
)

)

And All Actions

MDL 2179
SECTION J

JUDGE BARBIER

MAG. JUDGE SHUSHAN

ORAL ARGUMENT REQUESTED

MEMORANDUM OF AUTHORITIES IN SUPPORT OF
MOTION TO CONFIRM ARBITRATION AWARD

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STATEMENT OF THE FACTS

The matter arises out of a settlement agreement, (“Settlement Agreement” or
“Agreement”), reached by a class of parties with BP Exploration & Production, Inc. and BP
America Production Company (jointly referred to as “BP”) on April 18, 2012. (Doc. 6430-1 at
118). The Settlement Agreement was approved by the Court on May 3, 2012. (Doc. 8139).

Rocon, Inc., (Rocon) is a commercial contractor in Mobile County, Alabama and was
open for business prior to and during April 20, 2010 to April 16, 2012. (Exs. 1, 7 at 83, 100).
Rocon’s physical location is at 7950 Zeigler Blvd., Mobile, Alabama, which is in Economic Loss
Zone D. (Ex. 2). As such, Rocon is an Economic Class Member entitled to present a claim under
the Agreement.

Rocon submitted its Settlement Registration Claim Form and Business Economic Loss
Claim Form on June 4, 2012. (Exs. 1, 2). Rocon presented its supporting contemporaneous
financial data, kept on an accrual basis of accounting, which was reviewed, reconciled and
approved by the Claims Administrator. (Ex. 7 at 84). On April 12, 2013, the Claims
Administrator issued an Eligibility Notice which determined that Rocon’s claim qualified for
payment and set the Award Amount at $150,049.87. (Exs. 3, 7 at 83). Rocon properly executed
the Full and Final Release, Settlement, and Covenant Not to Sue and timely returned it to the
Claims Administrator. (Ex. 13). On April 23, 2013, BP timely filed a Notice of Appeal
requesting that Rocon’s claim be submitted to the Appeal Panel as provided by the Agreement.
(Ex. 4 at 62-64). BP and Rocon conducted the arbitration in the prescribed manner with each
submitting their respective position to the single-member Panel. (Exs. 4, 5, 6, 7, 8. 9, 10). On
September 19, 2013, the Panel’s Decision was issued which established a Compensation Amount
of $142,576.07 and a .25 Risk Transfer Premium Multiplier, (RTP). (Ex. 11). Based on the
Panel’s Decision, a Post-Appeal Eligibility Notice was issued by the Claims Administrator on
September 20, 2013, which totaled $157,178.67 with the 5% Review Cost increase in the Post-

Appeal Compensation Amount. (Ex. 12). BP did not make a Request for Discretionary Court
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Review as allowed under the Agreement and governing Rules. (Sec. 6.6, Doc. 10185-1 at 3-4).
Rocon now seeks confirmation of the Panel’s Decision by the District Court.
On October 2, 2013, the United States Fifth Circuit Court of Appeals issued its opinion In

re: Deepwater Horizon, 2013 US App. LEXIS 20188 (5"" Cir. 2013), which reversed the District

Court’s ruling and “instruct[ed] the district court to expeditiously craft a narrowly-tailored
injunction. .. .” Id. at *59. In keeping with the Fifth Circuit’s instructions, the District Court
issued a Preliminary Injunction Related to BEL Claims on October 18, 2013, which required the
Claims Administrator to temporily suspend action on Business Economic Loss claims then
pending at any stage in the Claims Appeal Process. (Docs. 11697 and 11790). In response to a
subsequent order of the Fifth Circuit, the Court revised its preliminary injunction on December 5,
2013 and issued an order maintaining the December 5 Order on December 24, 2013. (Doc.
12055). Although Rocon’s Post-Appeal Eligibility Notice had been issued prior to the Fifth
Circuit’s opinion, it had not been paid and payment is presently being withheld based on the

subsequent Preliminary Injunction. (Docs. 11697, 11790, 12055). See, also, In re: Deepwater

Horizon, 2013 US App. LEXIS 20188.
STANDARD OF REVIEW

This motion seeks confirmation of an arbitration award issued by a single arbitrator under
the authority provided in the Settlement Agreement between BP and the Economic Class
Members, which includes the movant, Rocon, Inc., (Rocon).

There is a strong presumption in favor of arbitration under the Federal Arbitration Act,
(FAA), which requires an expedited and summary hearing of motions to enforce arbitration and

arbitration awards. See, Grant v. Houser, 469 Fed. Appx. 310, 315 (5" Cir. 2012), citing, Moses

H. Cone Mem’! Hosp. v. Mercury Constr. Corp.. 460 U.S. 1, 103 S.Ct. 927, 74 L.Ed.2d 765

(1983). See, also, 9 U.S.C. §2. As stated in Grant:

“[{T]here is a strong presumption in favor of arbitration under the FAA.
See 9 U.S.C. § 2; see also Moses H. Cone Mem'l Hosp. v. Mercury Constr. Corp.,
460 U.S. 1, 24, 103 S. Ct. 927, 74 L. Ed. 2d 765 (1983). Accordingly, for ruling
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on a motion to compel arbitration, the FAA requires "an expeditious and
summary hearing, with only restricted inquiry into factual issues". Moses H.
Cone Mem'l Hosp., 460 U.S. at 22. The party seeking to compel arbitration need
only prove the existence of an agreement to arbitrate by a preponderance of the
evidence. See Banks, 156 F. App'x at 712. (emphasis added).

469 Fed Appx. at 315. Therefore, the Court’s consideration of this motion should be
expeditiously heard and subject to a restricted inquiry into the factual issues. Id.

An agreement to settle a claim, ie., a settlement agreement, is a contract. See, e.g.,

Alford v. Kuhlman Elec. Corp., 716 F.3d 909, 912 (5" Cir. 2013)(settlement agreements are

contracts); Guidry v. Halliburton Geophysical Services, Inc., 976 F.2d 938, 940 (5"" Cir. 1992)(a

settlement agreement is a contract); In re Raymark Indus., Inc., 831 F.2d 550, 553 (5"" Cir.

1987)(settlements are contracts). Where a settlement agreement is clear and unambiguous,
interpretation is a question of law and the contract’s language is to be given its plain meaning.

See, Alford, 716 F.3d at 712; Nat’! Union Fire Ins. Co. v. Circle, Inc., 915 F.2d 986, 989 5" Cir.

1990); Turner Marine Fleeting v. Quality Fab & Mech., 2002 U.S. Dist. LEXIS 24258 (E.D. La.

2002). If the agreement is ambiguous, the court’s interpretation is subject to review only for
clear error and the court may consider extrinsic evidence as part of its interpretation. Id.
Courts should be mindful of the “national policy favoring arbitration” as embodied in the

FAA. See, e.g., Nitro-Lift Techs., LLC v. Howard, 133 S. Ct. 500, 502, 133 S.Ct. 500, 501, 184

L. Ed. 2d 328, 331 (2012); AT&T Mobility, LLC v. Concepcion, 131 S.Ct. 1740, 179 L.Ed.2d

742 (2011); Volvo Trucks N. Am., Inc. v. Crescent Ford Truck Sales, Inc., 666 F.3d 932, 936

(5" Cir. 2012). As stated in AT&T Mobility:

“[T|he FAA was designed to promote arbitration. They have repeatedly described
the Act as ‘embod[ying] [a] national policy favoring arbitration, Buckeye
Check Cashing, 546 U.S., at 443, 126 S. Ct. 1204, 163 L. Ed. 2d 1038, and ‘a
liberal federal policy favoring arbitration agreements, notwithstanding any state
substantive or procedural policies to the contrary,’ [citations omitted] Thus, in
Preston v. Ferrer, holding preempted a state-law rule requiring exhaustion of
administrative remedies before arbitration, we said: ‘A prime objective of an
agreement to arbitrate is to achieve 'streamlined proceedings and expeditious
results,’ which objective would be ‘frustrated’ by requiring a dispute to be heard
by an agency first. 552 U'S., at 357-358, 128 S. Ct. 1396, 170 L. Ed. 2d 254.

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Federal Arbitration Act is designed to promote arbitration.” (emphasis
added).

131 S.Ct. at 1749, 179 L.Ed.2d at 755. Accordingly, if the Settlement Agreement contains a
dispute resolution provision that constitutes an arbitration agreement, the Court should enforce it
to the fullest, consistent with the national policy embodied in the FAA. Id.

The initial question of whether the parties have an agreement to arbitrate is one for the

Court to decide. See, Southland Corp. v. Keating, 465 U.S. 1, 10, 104 S.Ct. 852, 79 L.Ed.2d 1

(1984); Armstrong v. Assocs. Int’! Holding Corp., 242 Fed. Appx. 955, 957 (5" Cir. 2007);

Klein v. Nabors Drilling USA, LP, 710 F.3d 234 (Sth Cir. 2013). As stated in Armstrong:

“To determine whether the parties agreed to arbitrate a dispute, the district
court considers: (1) whether there is a valid agreement to arbitrate between
the parties; and (2) whether the dispute in question falls within the scope of
the arbitration agreement. Webb v. Investacorp, Inc., 89 F.3d 252, 258 (5th Cir.
1996). When a contract contains an arbitration clause, there is a
presumption of arbitrability in the sense that ‘an order to arbitrate the
particular grievance should not be denied unless it may be said with positive
assurance that the arbitration clause is not susceptible of an interpretation
that covers the asserted dispute.’" (emphasis added).

242 Fed. Appx. 955, 957. See, also, AT&T Tech., Inc. v. Comme'ns Workers of Am., 475 U.S.
643, 650, 106 S. Ct. 1415, 89 L. Ed. 2d 648 (1986) (quoting Steelworkers v. Warrior & Gulf

Navigation Co ., 363 U.S. 574, 582-83, 80 S. Ct. 1347, 4 L. Ed. 2d 1409 (1960).

When deciding whether the parties agreed to arbitrate the dispute, the Court must give

due regard to the federal policy favoring arbitration. See, Webb v. Invertacorp., Inc., 89 F.3d

252, 258 (Sth Cir. 1996). Normally, arbitration agreements are contractual and parties who

submit to such an agreement are bound by its terms. See, Am. Heritage Life Ins. Co. v. Lang

321 F.3d 533, 537 (5" Cir. 2003). The enforceability of an arbitration clause is governed

exclusively by the FAA. See, Beverly Enterprises-Mississippi v. Powell, 244 Fed. Appx. 577,

579 (5" Cir. 2012); Sam Reisfeld & Son Import Co. v. Eteco, 530 F.2d 679, 681 (5"" Cir. 1976).

The FAA creates a body of federal substantive law establishing and regulating the duty to honor
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an agreement to arbitrate. See, Moses H. Cone Mem’! Hosp. v. Mercury Constr. Corp., 460 U.S.

1, 103 S.Ct. 927, 942, 74 L.Ed.2d 765, 786 fn. 32 (1983).
Under the mandate of the Federal Arbitration Act, the party seeking to compel or enforce
arbitration need only prove the existence of the agreement to arbitrate by a preponderance of the

evidence. See, Grant, 469 Fed. Appx. at, 315; Carter v. Countrywide Credit Indus., Inc., 362

F.3d 294, 297 (5" Cir. 2004); Banks v. Mitsubishi Motors Credit of Am., 156 Fed. Appx. 710,

712 5 Cir. 2005)(arbitration agreement proven by preponderance of the evidence). Once the
preponderance bar is crested, “the burden shifts to the party opposing arbitration to demonstrate
either that the agreement is invalid or, at a minimum, to allege the dispute is outside of the
agreement’s scope.” See, Grant, 469 Fed. Appx. at, 315, citing, Carter, 362 F.3d at 297. The
party seeking to avoid arbitration must prove that the arbitration clause was the product of fraud,
coercion or such ground as exists at law or in equity for revocation of contracts. Id. As stated in

Washington Mut. Fin. Group, LLC v. Bailey, 364 F.3d 260 (5™ Cir. 2004):

“The FAA expresses a strong national policy favoring arbitration of disputes, and
all doubts concerning the arbitrability of claims should be resolved in favor of
arbitration." Primerica Life Ins. Co. v. Brown, 304 F.3d 469, 471 (Sth Cir. 2002).
Courts conduct a bifurcated inquiry to determine whether parties should be
compelled to arbitrate a dispute. /d. First, the court must determine whether
the parties agreed to arbitrate the dispute. Once the court finds that the
parties agreed to arbitrate, it must consider whether any federal statute or
policy renders the claims nonarbitrable. /d.” (emphasis added).

364 F.3d at 263. “Underlying an evaluation of the existence and validity of any such agreement
is a strong federal policy favoring the enforcement of arbitration agreements in commercial and

maritime matters.” See, Alsem Indus. v. M/V Nick, 1999 U.S. Dist LEXIS 20109 *5 (E.D. La.

1999); Cargill Ferrous International v. The M/V Anatoli, 935 F. Supp. 833, 837 (E.D. La. 1996),

citing, Sheason/American Express, Inc. v. McMahon, 482 U.S. 220, 226, 207 S.Ct. 2332, 2337,

96 L.Ed.2d 185 (1987).

If there is any ambiguity regarding the scope of arbitration, courts must apply a

presumption in favor of arbitration. See, QPro, Inc. v. RTD Quality Servs. USA, 761 F.Supp.2d
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492, 497 496-97 (S.D. Texas 2011). In determining whether a particular issue is to be arbitrated,

courts should construe the parties’ intentions “generously”. See, Tricon Energy Ltd. v. Vinmar

Int’l, Ltd., 718 F.3d 448, 458 (5™ Cir. 2013). It is this standard of review that applies in deciding

whether the Settlement Agreement contains an arbitration provision and whether the panel’s
decision in favor of Rocon is an arbitration award which is entitled to be confirmed under the

provisions of the Federal Arbitration Act.

ARGUMENT

I. THE AGREEMENT’S APPEAL PROCESS, AS SET OUT IN SECTION 6, IS AN
ARBITRATION AGREEMENT SUBJECT TO THE FEDERAL ARBITRATION
ACT AND THE RESULTING AWARD IS BINDING ON THE PARTIES.

By this motion, Rocon seeks confirmation of the Panel’s Decision as an arbitration award
that is subject to the Federal Arbitration Act, (FAA). 9 U.S.C. §§1-9. Ifthe Panel Decision is an
arbitration award, Rocon submits that it must be confirmed and enforced under the FAA.

A. The Settlement Agreement Is Governed By Maritime Law And The
Arbitration Agreement Contained Therein Is Subject To The Federal
Arbitration Act, 9 U.S.C.S. §1 et al.

The underlying dispute arises out of a blowout, explosion and fire that occurred aboard
the Deepwater Horizon semi-submersible offshore drilling rig on April 20, 2010, while the rig
was engaged in drilling activities on the “Macondo Well” on the Outer Continental Shelf off the
coast of Louisiana. (Doc. 8138 at 1). The parties to the Settlement Agreement agreed that
General Maritime Law would be applied to interpretation of the Agreement. (Settlement
Agreement at Sec. 36.1). The parties to an agreement may agree to a choice-of-law provision,
which will be upheld as long as the selected law does not undermine the goals and policies of the

FAA. See, ASW Allstate Painting & Constr. Co. v. Lexington Ins. Co., 188 F.3d 307, 310 (5"

Cir. 1999). The Settlement Agreement resolved disputes arising out of a controversy that is

subject to the admiralty jurisdiction of the Court. See, In re: Oil Spill, 808 F.Supp.2d 943, 951

(E.D. La. 2011). Section 1 of the FAA provides, in part:
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"’Maritime transactions’, as herein defined, means charter parties, bills of lading
of water carriers, agreements relating to wharfage, supplies furnished vessels or
repairs to vessels, collisions, or any other matters in foreign commerce which,
if the subject of controversy, would be embraced within admiralty
jurisdiction;” (emphasis added).

9 U.S.C. §1. The facts giving rise to the underlying controversy and the written agreement of the

parties both support a finding that the Settlement Agreement is a “maritime transaction” as

defined by the FAA.

Under §2 FAA, a written arbitration clause in a contract to settle a controversy arising out
of a maritime transaction is valid and enforceable. Section 2 of the FAA provides:

“A written provision in any maritime transaction or a contract evidencing a
transaction involving commerce to settle by arbitration a controversy
thereafter arising out of such contract or transaction, or the refusal to perform
the whole or any part thereof, or an agreement in writing to submit to
arbitration an existing controversy arising out of such a_ contract,
transaction, or refusal, shall be valid, irrevocable, and enforceable, save upon
such grounds as exist at law or in equity for the revocation of any contract.”
(emphasis added).

9 U.S.C. §2. Such arbitration provisions are governed by the FAA. See, 9 U.S.C.S. §§1-2. See,
also, Citizens Bank v. Alafabco, Inc., 539 U.S. 52, 56, 2123 S.Ct. 2037, 156 L.Ed.2d 46 (2003);

Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 121 S.Ct. 1302, 1307, 149 L.Ed.2d 234 (2001);

Grant v. Houser, 469 Fed. Appx. at 313. Therefore, the Settlement Agreement, with its dispute

resolution clauses, should be enforced by the Court under the provisions of the FAA. Id.

B. The Dispute Resolution Procedure Established By Section 6, CLAIMS APPEAL
PROCESS, Is An Arbitration Agreement.

Section 6 of the Settlement Agreement contains a written agreement of the parties for the
final resolution of certain disputes arising under the Agreement with the resolution to be made by
impartial panelists. (Settlement Sec. 6 at 55-61). As stated in Section 5.11.4:

“Claimants shall have the right to appeal the determination related to the
denial or award of a Total Compensation Amount pursuant to the Appeal
Process as more fully set forth in Section 6 below.” (emphasis added).
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(Settlement Sec. 5.11.4). In like manner, if BP is dissatisfied with an award, BP can appeal to an
Appeal Panel.' (Settlement Sec. 6.1.2.4). Section 6.1.2.4 provides:

“The BP Parties may Appeal a final compensation award determination only
where the Compensation Amount determined by the Settlement Program is in
excess of $25,000. The BP Parties shall receive notice of an award on the
same date that notice is provided to the Economic Class Member and shall
have the following time periods within which to exercise their Appeal right
for Claims in the following monetary ranges: (a) for awards of $25,000 to
$250,000 the BP Parties shall have ten days from the date of notice of the award to
Appeal; (b) for awards of $250,001 to $500,000 the BP Parties shall have fifteen
days from the date of notice of the award to Appeal; and (c) for awards of greater
than $500,001 the BP Parties shall have twenty days from the date of the notice of
the award to Appeal.”

(Settlement Sec. 6.1.2.4). In either case, once the Claims Administrator issues an Eligibility
Notice, the only dispute resolution procedure available to either party is by an Appeal Panel.
(Settlement Sec. 6). Rocon submits the process set out in Section 6 is an arbitration agreement.
Arbitration is a “method of dispute resolution involving one or more neutral third parties
who are usually agreed to by the disputing parties and whose decision is binding.” Black’s Law

Dictionary, 119 (9" ed. 2009). As stated in GMC v. Pamela Equities Corp., 146 F.3d 242, 246

(5" Cir. 1998):

“Arbitration is the reference of a particular dispute to an impartial third
person chosen by the parties to a dispute who agree, in advance, to abide by
the arbitrator's award issued after a hearing at which both parties have an
opportunity to be heard.” (emphasis added).

146 F.3d at 246. See, also, American Federation of State, County and Municipal Employees,

Local 1902, AFL-CIO v. Metropolitan Water District of Southern California, 126 Cal. App. 4"

247, 257-58, 24 Cal. Rptr. 3d 285, 291 (Cal. App. 2005). As stated in American Federation:

“One appellate court surveyed the various definitions of arbitration and quoted
from Black's Law Dictionary that arbitration is ' "[a] process of dispute
resolution in which a neutral third party (arbitrator) renders a decision after
a hearing at which both parties have an opportunity to be heard. Where

Under the Agreement, BP waived its right to challenge any award that does not exceed
$25,000. (Settlement Sec. 6.1.2.4).
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arbitration is voluntary, the disputing parties select the arbitrator who has the
power to render a binding decision." [Citation.]' [Citations.] ... '[A]Ithough [an]
arbitration can take many procedural forms, a dispute resolution procedure
is not an arbitration unless there is [1] a third party decision maker, [2] a
final and binding decision, and [3] a mechanism to assure a minimum level of
impartiality with respect to the rendering of that decision.” (emphasis added).

126 Cal. App. 4" at 257-58, 24 Cal. Rptr. 3d at 291. See, also, Hooters of America, Inc. v.
Phillips, 39 F. Supp. 2d 582, 618-19 (D S.C. 1998); Prasad v. Bullard, 51 So.3d 35, 38 (La. App.,

5 Cir. 2010); Kabia v. Koch, 713 N.Y.S. 2d 250, 254 (Civ. Ct. N.Y. 2000); Cheng-Canindin v.

Renaissance Hotel Associates, 50 Cal. App. 4'" 676, 684, 57 Cal. Rptr. 2d 867, 872 (Cal. App.

1996). Given the thousands of awards envisioned by the parties, it was prudent that a method be
agreed upon to address dissatisfaction by the Claimant or BP. It was and is impractical that each
dispute be presented to the Court for resolution. Hence the parties agreed, in writing, to a dispute
resolution method to address each separate award or denial of an award with the resolution to be
by a neutral panel and binding on the parties. See, Section 6 of the Settlement Agreement.
Section 6 does not use the word “arbitration”, but such particularity is not needed. No

particular language is necessary to create an arbitration agreement. See, American Federation,

126 Cal. App. 4" at 257-58, 24 Cal. Rptr. 3d at 291. As stated in American Federation:

“The MOU section 6.7 does not mention the words arbitration, arbitrate, or
arbitrator. However, the absence of this terminology is not a determining
factor in deciding whether the agreement is one for arbitration. (Cheng-
Canindin v. Renaissance Hotel Associates (1996) 50 Cal. App.4th 676, 683-684
[57 Cal. Rptr. 2d 867], quoting Painters Dist. Council No. 33 v. Moen (1982) 128
Cal. App. 3d 1032, 1036 [181 Cal. Rptr. 17].) "More important is the nature
and intended effect of the proceeding.” (emphasis added).

126 Cal. App. 4'" at 257-58, 24 Cal. Rptr. 3d at 291. It is not required that an agreement contain
the word “arbitration” nor any specific terminology to create a valid arbitration agreement. Id.

If the agreement creates an arbitration process, regardless of the terminology, the

agreement should be acknowledged as an arbitration agreement. Id. See, also, Cheng-Canindin,
50 Cal. App. 4" at 684, 57 Cal. Rptr. 2d at 872. Arbitration proceedings are not held to the same

technical rules of pleading and evidence as lawsuits in federal courts. See, e.g., Swift Industries,

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Inc. v. Botany Industries, Inc., 466 F.2d 1125, 1129 n.10 (3d Cir. 1972); American Almond

Produ. Co. v. Consolidated Pecan S. Co., 144 F.2d 448 ("4 Cir. 1944); Tokura Constr. Co. v.

Corporacion Raymond, S.A., 533 F.Supp. 1271, 1278 (S.D. Tex. 1982). When considering an

agreement, the Court must be mindful of the federal policy under the FAA, which “requires a

liberal reading of arbitration agreements.” See, Moses H. Cone Mem’! Hosp., 460 U.S. 1, 103

S.Ct. 927, 941, 74 L.Ed.2d 765, 785. “The Fifth Circuit is resoundingly clear that all doubts
concerning arbitration are resolved in favor of arbitration, so strong is the presumption in favor

of it.” See, Shales v. Discover Card Servs., 2002 U.S. Dist. LEXIS 16502 *6 (E.D. La. 2002),

citing, Investment Partners v. Glamour Shots, 298 F.3d 314, 316 (5"" Cir. 2002).

Sections 5.11.4 and 6.1.2.4 of the Settlement Agreement allow BP or the Claimant to
invoke the dispute resolution process if either is dissatisfied with a decision of the Claims
Administrator.” See, Sections 5.11.4 and 6.1.2.4. Section 6.1.2.2 allows an aggrieved Claimant
to dispute the Claims Administrator’s determination by appealing to a neutral single-member
panel or a three-member panel, who has the authority to consider the evidence, weigh arguments
and make a final decision. See, Section 6.1.2.2.1. The Settlement Agreement provides:

“Appeals shall be heard by either a single-member APPEAL PANEL or a three-
member Appeal Panel depending on the value of the Claim being appealed.”
(emphasis in original).

Section 6.1.2.2.1. If the Claim amount is under $1,000,000, the parties agreed the dispute would
be resolved by a single person denominated as the “single-member Appeal Panel”. See, Section
6.1.2.2.5.1. Where the amount of the Claim is $1,000,000 or more, the parties agreed the dispute

would be resolved by a three-member Appeal Panel. See, Section 6.1.2.2.5.2.

Section 6.1.1.1 allows a Claimant to seek review of a decision to deny a claim based on
insufficient documentation. The review is by a separate Documentation Reviewer, assigned by
the Claims Administrator for that purpose. This review is without prejudice to the Claimant’s
right to resubmit the claim prior to termination of the Settlement Agreement. Because this
review of documentation is still within the Claims Administrator’s claims handling process, it is
not final or binding on the Claimant. Therefore, it is not part of the arbitration process. (Sec.
6.1.1.1).

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The Settlement allows the Claimant to seek review of any denial or award by the Claims
Administrator within 30 days of the issuance of a final written notice from the Settlement
Program of a determination. See, Section 6.1.2.3. In like manner, BP may dispute any award in
excess of $25,000 that is made to a Claimant by the Claims Administrator by timely filing a
notice of appeal; thereby invoking arbitration. See, Section 6.1.2.4. The arbitrator or arbitrators
considers the dispute de novo. See, Section 6.4. The mechanism for considering a dispute is
specified and provides for neutrality in the decision making; to-wit:

“6.2 Appeals Compensation Method. All Appeals where the issue is the
Compensation Amount shall be conducted using a baseball process in which
the Claimant and the BP Parties exchange and submit in writing to the Appeal
Panelist or Appeal Panel their respective proposals (“Initial Proposal”) for the base
Compensation Amount they propose the Claimant should receive. The Appeal
Panelists or Appeal Panel may consider only the following documentation:
the Initial and Final Proposal and any memorandum in support thereof; the
complete record of the Claimant in the Settlement Program; the Agreement
and all of its attachments; Court rulings on similar issues; and prior Appeal
rulings on similar issues. ... . The Claimant and the BP Parties may choose to
reach a compromise at any point up to the time the Appeal Panelist or Appeal
Panel issues its decision. Once the Appeal Panelist or Appeal Panel issues a
decision, it shall be final. The base compensation amount will then be
presented to the Claims Administrator to further process the Claim as
appropriate.” (emphasis added).

Section 6.2. The Settlement Agreement further requires neutral and impartial procedures to be
applied to the dispute resolution process as set out in Exhibit 25 to the Agreement. See, Section
6.3. The Exhibit 25 procedures may be supplemented by additional procedures as necessary by
the Settlement Program so long as the additions are not inconsistent with Exhibit 25. Id. The
Claims Administrator issued extensive procedures and rules for the filing and briefing of appeals
to the panels, which assure neutrality and uniformity in the arbitration process. See, Doc. 6430-
44 at 126-127; Rules Governing the Appeals Process, DWH 128-142; Order Establishing Rules
Governing Discretionary Court Review of Appeal Determinations, Doc. 10185 at DWH 143-

148. Whether the Claimant or BP initiates the dispute resolution process, the requirement that

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the parties follow uniform procedures assures a measure of impartiality in the rendering of
decisions. See, Section 6.3. This mechanism assures impartiality with respect to the rendering of

arbitral decisions. See, Hooters of America, 39 F. Supp. 2d at 618-19; Prasad, 51 So.3d at 38;

Kabia, 713 N.Y.S. 2d at 254; American Federation, 126 Cal. App. 4" at 257-58, 24 Cal. Rptr. 3d

at 291; Cheng-Canindin, 50 Cal. App. 4™ at 684, 57 Cal. Rptr. 2d at 872.

The Settlement Agreement provides that the decision makers, whether comprised of a
single-member or a three-member panel, are drawn from a pool of between 10 to 20 persons
from a list of at least 30 individuals who were jointly selected by the parties for their experience
and qualifications. See, Section 6.1.2.2.3. If there are vacancies, the parties to the Agreement
nominate additional candidates. Id. If one panelist is to decide the disputed claim, the individual
is selected randomly from the list of approved decision makers. See, 6.1.2.2.5.1. If a three-
member panel is to decide the dispute, one of the members is randomly selected from a sub-list
of panelists from the Claimant’s home state and the other two members are randomly selected
from the remaining pool of decision makers. Id. Where the parties have agreed to a method for
selecting the arbitrator(s), that method should be honored by the court so long as the parties

abide by its terms of the selection process. See, Bulko v. Morgan Stanley DW, Inc., 450 F.3d

622, 625 (5"" Cir. 2006)(arbitrators must be selected pursuant to the method provided in the

agreement); Gulf Guar. Life Ins. Co. v. Conn. Gen. Life Ins. Co. 304 F.3d 476, 489-90 (5™ Cir.

2002)(FAA provides that parties may determine the method of selecting arbitrators); Brook v.

Peak Int’l, Ltd., 294 F3d 668, 673 (5" Cir. 2002)(courts generally enforce arbitrator selection

clauses strictly allowing for ‘trivial departures’). If agreed in the arbitration agreement, the Court
can be directly involved in naming the arbitrator(s) and can even name one or more of the

arbitrators. See, e.g., In re Travelers Indem. Co., 2004 U.S. Dist LEXIS 30074 (D. Conn.

2004)(arbitrator agreement was honored by the court that directed that an arbitrator be named by
the judge of the federal district court having jurisdiction). This process assures disputes are

decided by neutral and competent panelists that are selected in a manner agreed by the parties.

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Valid arbitration agreements must provide that the decision of the arbitrator(s) is final

and binding on the parties. See, e.g, Hooters of America, 39 F. Supp. 2d at 618-19; American

Federation, 126 Cal. App. 4 at 257-58, 24 Cal. Rptr. 3d at 291; Kabia, 713 N.Y.S. 2d at 254;

Cheng-Canindin, 50 Cal. App. 4" at 684, 57 Cal. Rptr. 2d at 872. This requirement is

specifically addressed in Section 6.2, which states, in pertinent part:

“The Claimant and the BP Parties may choose to reach a compromise at any point
up to the time the Appeal Panelist or Appeal Panel issues its decision. Once the
Appeal Panelist or Appeal Panel issues a decision, it shall be final. The base
compensation amount will then be presented to the Claims Administrator to
further process the Claim as appropriate.” (emphasis added).

Section 6.2. Under the Settlement Agreement, once the Claims Administrator issues an
Award or Denial of a claim, BP or the Claimant, in this case Rocon, can challenge the Claims
Administrator’s decision before a neutral panel of arbitrators, who are empowered to make a
final and binding decision on the issues. Id.

This process is a form of arbitration. See, GMC, 146 F.3d at 246. In accordance with
FAA requirements and the federal policy favoring arbitration, the arbitration provisions of the
Settlement Agreement are due to be enforced and the Panel’s Decision should be confirmed as

an arbitration award. See, e.g., Nitro-Lift Techs., 133 8. Ct. 500, 133 S.Ct. 500, 184 L. Ed. 2d

328; AT&T Mobility, 131 S.Ct. 1740, 179 L.Ed.2d 742; Moses H. Cone Mem’! Hosp., 460

U.S. 1, 103 S.Ct. 927, 74 L.Ed.2d 765; Volvo Trucks N. Am., 666 F.3d 932.

I. THE ARBITRATOR’S AWARD, AS ISSUED BY THE APPEAL PANEL ON
SEPTEMBER 29, 2013, IS FINAL AND DUE TO BE CONFIRMED UNDER THE

FEDERAL ARBITRATION ACT.
Rocon submitted its Settlement Registration Claim Form and Business Economic Loss
Claim Form on June 4, 2013. (Exs. 1, 2). Rocon presented its supporting contemporaneous
financial data, kept on an accrual basis of accounting, which was reviewed, reconciled and
approved by the Claims Administrator. (Ex. 7 at 84). On April 12, 2013, the Claims

Administrator issued an Eligibility Notice which determined that Rocon’s claim qualified for

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payment and set the Award Amount at $150,049.87. (Ex. 3, 7 at 83). Rocon properly executed
the Full and Final Release, Settlement, and Covenant Not to Sue and timely returned it to the
Claims Administrator. (Ex. 13). On April 23, 2013, BP timely filed a Notice of Appeal requiring
Rocon to submit to arbitration by the Appeal Panel as provided by the Agreement. (Ex. 4).

BP initiated the arbitration and both parties participated in the prescribed manner with
each party submitting its position to the single-member arbitration panel. (Exs. 5, 6, 7, 8, 9, 10).
Rocon prevailed in arbitration and a Panel’s Decision or arbitrator’s award was issued September
19, 2013 by the arbitrator. (Ex. 11). In accordance with Rule 17 (e) of the Rules Governing the
Appeals Process, the Clatms Administrator issued a Post-Appeal Eligibility Notice on September
20, 2013, which totaled $157,178.67. (Ex. 12). See, R. G. App. Pro. Rule 17(e).

Pursuant to Rule 14 of the Rules Governing Discretionary Court Review of Appeal
Determinations, BP was allowed to request discretionary review by the Court by submitting its
request within fourteen (14) days of notice of the Panel’s Decision. See, R.G. Dis. Ct. Rev. Rules
13 and 15. BP did not seek discretionary review by the Court. At this point, the arbitration
process is ended and the resulting award should be confirmed by the Court.

Section 9 of the Federal Arbitration Act provides for confirmation of arbitration awards,
in part, as follows:

“If the parties in their agreement have agreed that a judgment of the court
shall be entered upon the award made pursuant to the arbitration, and shall
specify the court, then at any time within one year after the award is made
any party to the arbitrate on may apply to the court so specified for an order
confirming the award, and thereupon the court must grant such an order
unless the award is vacated, modified, or corrected as prescribed in sections
10 and 11 of this title [9 USCS §§ 10, 11].” (emphasis added).

9 U.S.C. §9. A motion or application to confirm an arbitration award is timely made if made
within one year of the date of the award. Id. Under Section 18.1, the United States District Court
for the Eastern District of Louisiana has jurisdiction to enforce the Settlement Agreement,
including the arbitration provisions of Section 9. See, Section 18.1. Therefore, this motion to

confirm is properly brought before this Court seeking to enforce the arbitration award of

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September 19, 2013. See, 9 U.S.C. §6 (motion or application to court under FAA shall be made
and heard in the manner provided for motions).
The question of whether the parties have an agreement to arbitrate is one for the Court to

decide. See, Southland Corp., 465 U.S. 1, 10, 104 S.Ct. 852, 79 L.Ed.2d 1; Armstrong, 242 Fed.

Appx. at 957; Klein, 710 F.3d 234. As stated in Armstrong:

“To determine whether the parties agreed to arbitrate a dispute, the district
court considers: (1) whether there is a valid agreement to arbitrate between
the parties; and (2) whether the dispute in question falls within the scope of
the arbitration agreement. Webb v. Investacorp, Inc., 89 F.3d 252, 258 (3th Cir.
1996). When a contract contains an arbitration clause, there is a
presumption of arbitrability in the sense that ‘an order to arbitrate the
particular grievance should not be denied unless it may be said with positive
assurance that the arbitration clause is not susceptible of an interpretation
that covers the asserted dispute.’" (emphasis added).

242 Fed. Appx. 955, 957. See, also, AT&T Tech., 475 U.S. 643, 650, 106 S. Ct. 1415, 89 L. Ed.
2d 648, citing, Steelworkers, 363 U.S. 574, 582-83, 80 S. Ct. 1347, 4 L. Ed. 2d 1409.

When a contract contains an arbitration provision, “there is a presumption of arbitrability
in the sense that ‘an order to arbitrate the particular grievance should not be denied unless it may
be said with positive assurance that the arbitration clause is not susceptible to an interpretation

that covers the asserted dispute.’" See, Armstrong, 242 Fed. Appx. at 957. In the instant matter,

the Settlement Agreement is signed by and binding upon BP. (Doc. 6430 at 118). The evidence
presented, including BP’s initiating and then actively engaging in the arbitration process, is more
than sufficient to establish that the parties entered into a binding arbitration agreement regarding

Rocon’s claim. See, Settlement Agreement, Doc. 6430. See, also, Grant, 469 Fed. Appx. at, 315;

Carter, 362 F.3d at 297; Banks, 156 Fed. Appx. at 712. Section 6 of the Settlement Agreement is
an arbitration agreement. As such, the first question in Armstrong of whether a valid arbitration

agreement exists is answered in the affirmative. See, Armstrong, 242 Fed. Appx. at 957.

The remaining question is whether the dispute between Rocon and BP falls within the

scope of the arbitration provision of the Settlement Agreement. Id. While it is true that the Court

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is charged to apply liberality in favor of arbitration and to “generously” construe the parties’
intention in favor of arbitration, in the instant matter, it is not difficult to divine the parties’ intent
to resolve disputes by submission to one or more neutral third-parties who renders a binding and

final resolution. See, Moses H. Cone Mem’! Hosp., 460 U.S. 1, 103 S.Ct. 927, 941, 74 L.Ed.2d

765, 785; Tricon Energy, 718 F.3d at 458; QPro, 761 F.Supp.2d at 496-97. Once the two

questions have been answered in the affirmative, the proponent of arbitration has met the burden.

See, Grant, 469 Fed. Appx. at, 315, citing, Carter, 362 F.3d at 297. As stated in Grant:

“The party seeking to compel arbitration need only prove the existence of an
agreement to arbitrate by a preponderance of the evidence. See Banks, 156 F.
App'x at 712.”
* * * *

“Because of the strong presumption in favor of arbitration, the burden shifts
to the party opposing arbitration to demonstrate either that the agreement is
invalid or, at a minimum, to allege the dispute is outside of the agreement's
scope.” (emphasis added).

469 Fed. Appx. at, 315. The burden is on BP to prove the Agreement is invalid or the Claims
Administrator’s determination for Rocon is outside the scope of the arbitration agreement. See,

469 Fed. Appx. at, 315, citing, Carter, 362 F.3d at 297; ASW Allstate Painting & Constr. Co. v.

Lexington Ins. Co., 188 F.3d 307, 311 (5" Cir. 1999)(if party opposes arbitration and denies

validity of agreement, the burden is on said party to prove invalidity). This BP cannot do.

The Settlement Agreement allows BP or the Claimant to challenge the Claims
Administrator’s Award to Rocon. See, Section 5.11.4 and Section 6.1.2.4. BP elected to
participate in the arbitration process when it entered the Settlement Agreement and again when it
filed a Notice of Appeal requesting Rocon’s claim be submitted to an Appeal Panel. (Doc. 6430;
Rocon at 62-64). Under Section 6.1.2.4, the scope of the arbitration is described as:

“The BP Parties may Appeal a final compensation award determination only
where the Compensation Amount determined by the Settlement Program is
in excess of $25,000.” (emphasis added).

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Section 6.1.2.4 Doc. 6430-1 at 62. Rocon’s Award exceeded $25,000. (Ex. 3). BP elected to
invoke arbitration and gave as its grounds that the Claims Administrator’s Award for Rocon was
improper and should be rejected by the arbitrator. (Exs. 4, 5, 8). Without question, the scope of
the arbitration was precisely within the scope set out in Section 6.1.2.4 and R. G. App. Pro. Rule
7 (b). Compare, Section 6.1.2.4 and R. G. App. Pro. Rule 7 (b) with BP’s Notice of Appeal. (Ex.
4). There can be no doubt that the scope of the arbitration was within the scope permitted by the
Settlement Agreement and the second question in Armstrong is also answered in the affirmative.

See, Armstrong, 242 Fed. Appx. at 957. Hence, it is clear that the parties have an agreement to

arbitrate certain disputes that may arise under the Settlement Agreement and that the arbitration
of such a dispute (i.e. Rocon’s Award) was conducted within the scope of said agreement.

BP cannot contend the Settlement Agreement is invalid. BP induced Rocon and
thousands of other businesses to join the settlement and enter into releases in favor of BP. BP
did this by contracting to honor and be bound by the terms of the Settlement Agreement. (Doc.
6430-1 at DWH-123). One of the contractual commitments made by BP is in Section 17.1,

which states:

“The Parties agree to support the final approval and implementation of this
Agreement and defend it against objections, appeal, or collateral attack.
Neither the Parties nor their Counsel, directly or indirectly, will encourage any
person to object to the Economic and Property Damages Settlement. Nothing in
this Agreement shall impair BP’s right to take any action to defend itself in any
trial where BP is a party.” (emphasis added).

Section 17.1. BP’s only reservation to this promise was that BP would be allowed to defend
itself in trials where BP was a party. Id. Any objection or attack by BP on the validity of this
Agreement is a breach of contract and a denial of Rocon’s benefit of the bargain as promised by

the Settlement Agreement.’

+ Rocon submitted its Settlement Registration Claim Form on June 4, 2012. (Ex. 1). At
that time, Rocon could have opted out of the Settlement, but chose to participate based on the
terms of the Agreement and the contractual promises made by BP. Every action taken by BP

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BP’s covenant not to object, appeal or collaterally attack was made after extensive
negotiations and with full knowledge of the rights being surrendered. As stated in Recitals D

and F of the Settlement Agreement:

“D. Plaintiffs contend they would prevail in litigation. BP disputes
and denies the Plaintiffs’ claims, has raised various affirmative and legal and

other defenses, and contends that it would prevail in litigation.
* * * *

F, BP has concluded that, in light of the costs, risks, burden, and
delay of litigation, Settlement in this complex litigation is appropriate. In this
regard, BP and BP’s Counsel agree that this Agreement is fair, reasonable,
and an adequate resolution of the Deepwater Horizon Economic Litigation.”

(emphasis added)

Recitals D & F. BP had full knowledge that it had affirmative defenses to Plaintiffs’ claims and
further believed it would prevail in the litigation. (Recital D). BP was aware of its rights to
defend against the Plaintiffs’ claims.

BP freely and voluntarily entered into the Settlement Agreement, by which it gained the
enormous benefit of resolution of the subject disputes with the Economic Loss Class. (Settlement
Agreement). In consideration of the benefits received, BP voluntarily surrendered certain rights;
for example, the right to defend the underlying dispute and to “prevail in litigation”. Another
right BP voluntarily surrendered was the right to “objection, appeal, or collateral attack” the

Settlement Agreement. (Section 17.1). Such a knowing, intelligent and voluntary surrender of

rights constitutes a waiver of those rights under the law. See, e.g.,v. Fly, 136 F.2d 578, 580 (5

Cir 1948)(Waiver is intentional relinquishment of known right); Robertson v. J.C. Penney Co..,

Inc., 484 F.Supp.2d 561, 567 (S.D. Miss. 2007)(voluntary waiver made with knowledge of the

rights waived is binding on party); Rolls Royce Industrial Power v. M.V. Fratzis M., 1995 U.S.

Dist. LEXIS 22219 *36 (S.D. N.Y. 1995)(voluntary and explicit surrender of known right is

wavier and is enforceable). When this promise was made, both BP and Plaintiffs knew there

to object, appeal and attack the settlement is in violation of BP’s promises and a breach of
contract. BP is contractually forbidden to object, appeal or attack its obligations under the
Settlement — it should honor its agreement.

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were risks associated with the settlement. BP admits this knowledge and voluntarily went
forward with the settlement. As part of the Agreement, BP agreed to defend the settlement
against “objections, appeal, or collateral attack” and, by extension, not to participate in the
making of such “objections, appeal, or collateral attack”. (Section 17.1). BP’s agreement is a
knowing, intelligent and intentional waiver of its right to object, appeal or collaterally attack the
Settlement Agreement and BP should be bound by its contract.

BP expressly agreed that the terms of the Agreement, including all Recitals and the
dispute resolution provisions of Sections 6 and 17.1, are contractual and not mere recitals. See,
Section 26.1. As stated in Section 26.1:

Plaintiffs, the Economic Class, and each Economic Class Member and the BP
Parties expressly and each agree that the terms of this Agreement, and all
provisions hereof, including all representations, promises, agreements,
covenants and warranties, and including the Exhibits thereto, are contractual
and not a mere recital and shall survive the execution of this Agreement.
(emphasis added).

Section 26.1. BP is contractually obligated to support the validity of the Agreement and part of
that obligation is to support and abide by the arbitration clause set out in the Settlement. By its
contractual consent, BP has waived any right to object, appeal or collaterally attack the validity
of the Settlement Agreement. Therefore, BP cannot establish that the Settlement Agreement is

invalid as a grounds for resisting arbitration. See, Armstrong, 242 Fed. Appx. at 957; Klein, 710

F.3d 234 See, also, AT&T Tech., 475 U.S. 643, 650, 106 S. Ct. 1415, 89 L. Ed. 2d 648, citing,

Steelworkers, 363 U.S. 574, 582-83, 80 S. Ct. 1347, 4 L. Ed. 2d 1409.

Even if BP were not prohibited from attacking its validity as a defense to arbitration,
however, it could not do so because the Agreement, including its arbitration provision, is entirely
valid. BP sought peace and reached a settlement with the Economic Loss Class Members after
extensive negotiations. As part of the resulting Settlement Agreement, BP accepted the
arbitration provisions set out in Section 6. BP exercised its rights to invoke arbitration and

vigorously arbitrated the Claims Administrator’s award to Rocon. (Exs. 4, 5, 6, 7, 8, 9; 10). The

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arbitrator’s decision upheld the Claims Administrator’s Award to Rocon. (Ex. 11). BP went no
further in challenging the Award. The arbitrator’s decision awarding Rocon $157,178.67 should
be confirmed by order of this Court.

TI. THE FIFTH CIRCUIT COURT OF APPEALS’ OPINION MUST BE APPLIED
CONSISTENT WITH CONTROLLING FEDERAL LAW AND CANNOT
DISRUPT AN ARBITRATION AWARD EXCEPT ON GROUNDS PERMITTED
BY SECTIONS 10 AND 11 OF THE FEDERAL ARBITRATION ACT.

On October 2, 2013, the United States Fifth Circuit Court of Appeals issued its divided

opinion In re: Deepwater Horizon, 2013 US App. LEXIS 20188 (5" Cir. 2013), which reversed

the District Court’s ruling and “instruct[ed] the district court to expeditiously craft a narrowly-
tailored injunction. .. .” Id. at *59. The Fifth Circuit’s opinion gave more instruction than
direction. Id. However, the Fifth Circuit is restrained by both federal statutory law and
controlling opinions of the United States Supreme Court from directing action affecting
arbitration awards beyond the scope of judicial review allowed by the Federal Arbitration Act.

See, AT&T Mobility, 131 S.Ct. at 1752, 179 L.Ed.2d at 758 (parties may not contractually

expand the grounds or nature of judicial review of arbitration agreement); Hall Street, 552 U.S.
at 584, 128 S. Ct. at 1403, 170 L. Ed. 2d at 263 (only grounds for judicial review of arbitration
provided in §§10 and 11 of FAA). No action by the Fifth Circuit can adversely affect an
arbitration award unless that action is consistent with the mandate of Hall Street. Id.

In the instant matter, the arbitration between Rocon and BP had reached its final
resolution with an arbitrator’s award issued and the amount payable calculated. (Exs. 11, 12). If
interpreted to apply to Rocon’s arbitration award, the Fifth Circuit’s opinion would directly
violate the law as set out in Hall Street. Id. In Hall Street, the United States Supreme Court
rejected a contractual provision in an arbitration agreement that allowed judicial review of the
arbitrator’s award on grounds different from those allowed by the FAA. Id. This contractual
provision stated, in part:

"It]he United States District Court for the District of Oregon ‘may enter judgment
upon any award, either by confirming the award or by vacating, modifying or

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correcting the award. The Court shall vacate, modify or correct any award: (i)
where the arbitrator's findings of facts are not supported by substantial
evidence, or (ii) where the arbitrator's conclusions of law are erroneous."
App. to Pet. for Cert. 16a.” (emphasis added).

552 U.S. at 579, 128 S. Ct. at 1400-01, 170 L. Ed. 2d at 260. The Hall Street Court held the
lower court could only vacate, modify or correct an arbitrator’s decision and, even then, only on
the specific grounds allowed by FAA §§10 and 11. Id. The Supreme Court also rejected
“manifest disregard” as grounds for vacating, altering or amending an arbitrator’s decision. 552

U.S. at 584, 128 S. Ct. at 1403, 170 L. Ed. 2d at 263. See, also, The Householder Group v.

Caughran, 354 Fed. Appx. 848, 850 (5" Cir. 2009)(Hall Street prohibits consideration of whether
arbitrators erred in questions of law or fact). As stated in Hall Street:

“We now hold that §§ 10 and // respectively provide the FAA's exclusive
grounds for expedited vacatur and modification.”
* * * *

“Hall Street is certainly right that the FAA lets parties tailor some, even many
features of arbitration by contract, including the way arbitrators are chosen, what
their qualifications should be, which issues are arbitrable, along with procedure
and choice of substantive law. But to rest this case on the general policy of
treating arbitration agreements as enforceable as such would be to beg the
question, which is whether the FAA has textual features at odds with
enforcing a contract to expand judicial review following the arbitration.

To that particular question we think the answer is yes, that the text
compels a reading of the §§ 1/0 and J] categories as exclusive.” (emphasis
added).

552 U.S. at 584 and 586, 128 S. Ct. at 1403 and 1404, 170 L. Ed. 2d at 263 and 264.

As set out by the Fifth Circuit in Martel v. Ensco Offshore Co., 449 Fed. Appx. 351 353-

54 (5" Cir. 2011):

“Under the Federal Arbitration Act ("FAA"), there are four statutory
bases upon which an arbitration award may be vacated:

(1) where the award was procured by corruption, fraud, or undue

means;

(2) where there was evident partiality or corruption in the arbitrators,
or either of them;

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(3) where the arbitrators were guilty of misconduct in refusing to
postpone the hearing, upon sufficient cause shown, or in refusing to
hear evidence pertinent and material to the controversy; or of any
other misbehavior by which the rights of any party have been
prejudiced; or

(4) where the arbitrators exceeded their powers, or so imperfectly
executed them that a mutual, final, and definite award [*354] upon
the subject matter submitted was not made.
9 U.S.C. § 10(a). These are the exclusive grounds according to which a
district court may vacate an arbitration award. Hall St. Assoc., L.L.C. v.
Mattel, Inc., 552 U.S. 576, 584, 128 S. Ct. 1396, 170 L. Ed. 2d 254 (2008).”

(emphasis added).

449 Fed. Appx. at 353-54. See, e.g., Bain v. Bank, 2013 U.S. App. LEXIS 18180 (5"™ Cir.

2013)(‘manifest disregard of the law” not basis for vacatur or modification); Woods v. PAM

Transp., Inc.-LU, 440 Fed. Appx. 265, 269 (5" Cir. 2012)(“manifest disregard of the law” not

grounds for vacatur or modification); Citigroup Global Markets, Inc. v. Bacon, 562 F.3d 349,
358 (5"" Cir. 2009)(judicial review of arbitration award strictly limited to grounds in FAA §§10
and 11). A mistake of law or fact by the arbitrator is not grounds for vacating an arbitration

award. See, Hamel-Schwulst v. Country Place Mortg. Ltd., 406 Fed. Appx. 906, 914 5" Cir.

2010)(court cannot vacate arbitration award based on merits of party’s claim or defense); Apache

Bohai Corp. LDC v. Texaco China BV, 480 F.3d 397, 409-10 (5" Cir. 2007)(arbitrator’s

findings of facts must be accepted as true); Rogers v. KBR Technical Services, Inc., 2007 U.S.

Dist. LEXIS 83070 *9-*10 (S.D. Tex. 2007)(mere mistake of law or fact insufficient to vacate
award).

Judicial review of an arbitration award is strictly limited to the grounds permitted by the
FAA, §§10 and 11. Id. The arbitration between Rocon and BP had been fully resolved before
any of the operative Fifth Circuit opinions were issued. (Exs. 11, 12). BP did not make a motion
to vacate, alter or amend as required by the FAA. Given the facts, no valid motion could be
made by BP. The Fifth Circuit’s decision does not explicitly direct that any completed

arbitration award be set aside or re-examined. See, In re: Deepwater Horizon, 2013 US App.

LEXIS 20188. While the Fifth Circuit’s opinion may affect claims that have not been submitted
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to and/or resolved by arbitration, it cannot expand judicial review to set aside or direct
reconsideration of an arbitrator’s award without running afoul of the FAA and Supreme Court’s

mandate in Hall Street. See, Hall Street, 552 U.S. at 584, 128 S. Ct. at 1403, 170 L. Ed. 2d at

263. See, also, Martel, 449 Fed. Appx. at 353-54; The Householder Group, 354 Fed. Appx. at

850. The District Court should not extend the instructions of the Fifth Circuit beyond the
permissible limits set out in Hall Street and the arbitrator’s award should be confirmed consistent

with the FAA and controlling law. Id.

IV. THE CLAIMS ADMINISTRATOR HAS A MINISTERIAL DUTY TO PAY
ROCON’S CLAIM AND SHOULD BE DIRECTED TO DO SO BY THE COURT.

Section 9 of the FAA mandates that the Court “grant an order confirming the arbitrator’s
award unless the award is vacated, modified or corrected as prescribed in sections 10 and 11 of

this title [9 USC $$10, 11].” See, 9 U.S.C. §9. See, also, Hall Street Assocs., L.L.C. v. Mattel,

Inc., 552 U.S. 576, 128 S. Ct. 1396, 1402, 170 L. Ed. 2d 254 (2008). In the instant matter, the
mandate of Section 9 is further supported by the contractual provisions of the Settlement
Agreement and the Court’s approved Rules Governing Discretionary Court Review of Appeal
Determinations. Rule 18 of the Rules Governing Discretionary Court Review of Appeal

Determinations states:

“If no Request has been submitted to the Appeals Coordinator on or before
the 15" day following service of the Notice of Appeal Panel Decision, the
Claims Administrator shall proceed with payment of the claim in accordance
with the Appeal Panel decision, or if the Appeal Panel denied the claim, the
Claims Administrator shall close the claim.” (emphasis added).

R. G. Dis. Ct. Rev. Rule 18. The Panel’s Decision set Rocon’s Compensation Amount of
$142,576.07 and the Risk Transfer Premium was a .25 Multiplier. (Ex. 11). The Claims
Administrator’s duty was then to “proceed with payment”. R. G. Dis. Ct. Rev. Rule 18. To
calculate the amount owed to Rocon, the Claims Administrator followed Rule 17 (e)(4) of the

Rules Governing Appeals Procedure, which states:

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“(e) Post-Appeal Eligibility Notice: The Claims Administrator will apply the
decision of the Appeal Panel in a Post-Appeal Eligibility Notice. As
applicable the Post-Appeal Eligibility Notice will reflect the following:

* * * *

(4) Assessment of 5% Review Cost for BP Appeals: If the Appeal Panel
awards the same amount as the claimant’s Eligibility Notice or the
amount of the claimant’s Final Proposal, the Claims Administrator
shall add 5% of the total pre-RTP Compensation Amount listed in
the Eligibility Notice to the Award Amount. The 5% Review Cost
Assessment shall not be applied if the appeal is withdrawn, settled, or
administratively closed prior to the Appeal Panel issuing an award.”
(emphasis added).

R. G. Dis. Ct. Rev. Rule 17(e)(4). The Claims Administrator’s mandatory duty to pay is set out
in Rule 18 and the formula to calculate the exact amount to be paid is set out in Rule 17(e)(4).

In the instant matter, Rocon’s claim has proceeded through the full path set out in the
Settlement Agreement. Rocon submitted its claim to the Claims Administrator. (Ex. 1, 2). The
Claims Administrator subjected Rocon’s claim to a thorough review and analysis; resulting in an
Award of $150,049.87. (Exs. 3, 7 at 83). The Claims Administrator’s determination was
disputed by BP and a demand for arbitration (denominated an “Appeal’’) was filed. (Ex. 4). The
arbitration was conducted without objection by BP and the arbitrator issued his award
(denominated as the Panel’s Decision). (Ex. 11). When BP did not seek discretionary review,
the Claims Administrator’s duty became ministerial and consists only of “proceed[ing] with
payment of the claim in accordance with the Appeal Panel decision. .. .” R. G. Dis. Ct. Rev.
Rule 18. Pursuant to Rule 17(e)(4), the Claims Administrator was required to multiply the pre-
RTP Compensation Amount ($142,576.07) by the RTP of .25 to determine the 5% Review Cost
($7,128.80) and add the RTP Amount ($36,644.02). This amount was then reduced by the Prior
Spill Related Payment of $28,700.52; yielding a Total Compensation Amount of $157,178.67.
(Ex. 12). The Claims Administrator’s payment process is clerical and requires no discretion.

At that point in time, the arbitration process is fully complete, final and binding and all
that remains is the Claims Administrator’s completion of his duty to “proceed with payment. . .

.”R. G. Dis. Ct. Rev. Rule 18. As stated in United States v. O’Keefe, 128 F.3d 885, 890 (5™ Cir

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1997), defines a “ministerial act” as “an act that is essentially clerical and does not involve the

exercise of discretion or judgment.” Id. at 890. See, also, United States ex rel. McLennan v.

Wilbur, 283 U.S. 414, 420, 51 S.Ct 502, 504, 75 L.Ed. 1148 (1931)(“ministerial duty” is a duty

in which “the obligation to act [is] peremptory, and plainly defined”). In Noffke v. Bakke, 760

N.W.2d 156, 168 (Wis. 2009), the Wisconsin Supreme Court defined “ministerial duty” as:

“A ministerial duty is one that ‘is absolute, certain and imperative, involving
merely the performance of a specific task when the law imposes, prescribes
and defines the time, mode and occasion for its performance with such
certainty that nothing remains for judgment or discretion.’” (emphasis
added).

760 N.W.2d at 168. Payment of the Post-Appeal Award to Rocon is a ministerial duty of the

Claims Administrator under the law and the Settlement Agreement.

CONCLUSION

Under the terms of the Settlement Agreement, the Federal Arbitration Act and applicable
law, Rocon, Inc., prays the Court to grant the order confirming the arbitrator’s award, (Panel
Decision), in favor of Rocon, Inc. Further, Rocon prays the Court to direct the Claims
Administrator to perform his ministerial duty by calculating the Total Compensation Amount

based on the Panel Decision and to proceed with payment in the amount of $157,178.67.

RESPECTFULLY SUBMITTED,
s/E. J. Saad /s/ Frederick T. Kuykendall, UJ
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